                       Case 1:21-cr-00002-LY Document 17 Filed 05/12/21 Page 1 of 1
PS 8
(Rev. 4.2020)
                                    UNITED STATES DISTRICT COURT
                                                                       for
                                                    WESTERN DISTRICT OF TEXAS

U.S.A. vs. (GGLH6PLWK                                                                          Docket No. 1:21CR0002-1

                                           Petition for Action on Conditions of Pretrial Release

          COMES NOW Linda Cano                                                     , pretrial services officer, presenting an
official report upon the conduct of defendant           (GGLH6PLWK                                                                    ,
who was placed under pretrial release supervision by the 6XVDQ+LJKWRZHU                                                      ,
sitting in the court at Austin, Texas,                                                    on the 15th date of April          , 2021
under the following conditions:

 7(m) Refrain from the use of any unlawful possession of narcotic drug and other controlled substances defined in 21
 U.S.C. § 802 unless prescribed by a licensed medical practitioner.



RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:
On May 3, 2021, the defendant submitted to a random drug screening which tested positive for marijuana. On May 12,
2021, the defendant admitted to U.S. Pretrial Services that he has smoked the substance every other day since his
release to cope with stress. On this date, the defendant was referred to individual substance abuse counseling sessions
to identify his triggers and learn coping skills.

PRAYING THAT THE COURT WILL ORDER It is respectfully recommended the Court take no action at this time
and allow the defendant to participate in substance abuse treatment.

                                                              I declare under penalty of perjury that the foregoing is true and
                                                              correct.
                                                              Executed on 05/12/2021

                 ORDER OF COURT
Considered and ordered this         12th        day of
                                                             U.S. Pretrial Services Officer    Phone Number        +1 (512) 391-8839
 May              , 2021       and ordered filed
and made a part of the records in the above case.
Honorable Susan Hightower                                     Supervisory
                                                              U.S. Pretrial Services Officer   Phone Number         +1 () -

            U.S. Magistrate Judge
                                                             Place
                                                                         U.S. Pretrial Services Office
                                                                         501 W. 5th Street, Ste. 3200
                                                                         Austin, Texas 78206
